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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

Angel Alejandro Heredia Mons, et al.,              )
on behalf of themselves and others                 )
similarly situated,                                )
                                                   )
                   Plaintiffs,                     ) Case No. 1:19-cv-01593-JEB
                                                   )
         v.                                        )
                                                   )
Chad Wolf, Acting Secretary of the                 )
Department of Homeland Security, in his            )
official capacity, et al.                          )
                                                   )
                   Defendants.                     )
                                                   )

[PROPOSED] ORDER GRANTING MOTION FOR LEAVE TO INTERVENE AND TO
                  UNSEAL JUDICIAL DOCUMENTS

       Upon consideration of non-party press organization The Center for Investigative

Reporting, Inc. d/b/a Reveal from The Center for Investigative Reporting (“CIR”)’s Motion for

Leave to Intervene and to Unseal Judicial Documents and any responses thereto, it is hereby

ORDERED that the Motion is GRANTED as follows:

           1. CIR is permitted to intervene in the above-captioned case for the limited purpose

              of challenging restrictions on the public’s right of access in this matter; and

           2. Defendants’ monthly productions of parole determinations (Dkt. Nos. 42, 44, 56,

              58, 59, 71, 80, 83, 91) shall be unsealed immediately and made available to the

              public, subject to redactions for the detainees’ names and A-numbers.

           3. Any future productions of parole determinations by Defendants shall also be filed

              unsealed, subject to redactions for the detainees’ names and A-numbers.

       IT IS SO ORDERED.
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Dated: _____________, 2020
                                     The Honorable James E. Boasberg
                                     United States District Court Judge




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